              Case 3:18-cr-00319-MO           Document 195         Filed 06/27/19      Page 1 of 6


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                                                                                             June 21, 2019


       Ernie Warren
       Deborah Burdzik
       Warren & Sugaiman
       83 8 SW 1s t Ave. Ste. 500
       P01tland, OR 97205

                Re:     United States v. Earl D. Fisher, Case No. 3: l 8-CR-00319-JO
                        Plea Agreement

       Dear Counsel:

       I.      Parties/Scope: This plea agreement is between this United States Attorney's Office for
       the District of Oregon (USAO) and defendant, and thus does not bind any other federal, state, or
       local prosecuting, administrative, or regulatory authority. This agreement does not apply to any
       charges other than those specifically mentioned herein.

      2.      Charges: Defendant agrees to plead guilty to Count I of the Superseding Indictment
      charging him with conspiring to conduct and participate in the activities of a racketeering
      enterprise, in violation of Title 18, United States Code, Section 1962(d). The defendant admits
      that he is, in fact, guilty of this offense and will so advise the Comt.

      3.      Penalties: The maximum sentence for Count 1 is life imprisonment, a fine of$250,000,
      five (5) years of supervised release, and a $100 fee assessment. Defendant agrees to pay the fee
      assessment by the time of entry of guilty plea or explain to the Col!rt why this cannot be done.
      This Comt may also order him to make restitution pursuant to 18 U.S.C. §§ 3663, 3663A, and
      3664. If a fine or restitution is imposed, it shall be payable immediately, unless, pursuant to 18
      U.S.C. § 3572(d), the Court orders otherwise.
              The defendant understands that if he serves a term of imprisonment, is released on
      supervised release, and then violates the conditions of his supervised release, his supervised
      release could be revoked - even on the last day of the term - and the defendant could be returned
      to custody to serve another period of incarceration and a new term of supervised release. The
      defendant understands that the Bureau of Prisons has sole discretion in designating the institution
      at which the defendant will serve any term of imprisonment imposed.                          ·

      4.     Dismissal: The USAO will move at the time of sentencing to dismiss any remaining
      counts against defendant.
       Case 3:18-cr-00319-MO          Document 195         Filed 06/27/19      Page 2 of 6




 Plea Offer, E. Fisher
 Page 2



5.      Sentencing Factors: The patties agree that the Cout1 must first determine the applicable
advisory guideline range, then dete1mine a reasonable sentence considering that range and the
factors listed in 18 U.S.C. § 3553(a). Where the parties agree that sentencing factors apply, such
agreement constitutes sufficient proof to satisfy the applicable evidentiary standard.

6.      Elements of the Offense: The elements of the offense to which the defendant has agreed
to plead guilty, and which the Government would prove if the case went to trial are as follows:

        (1) First, the charged enterprise - which is the Gypsy Joker Outlaw Motorcycle Club -
           was or would be established;
       (2) Second, the enterprise or its activities affected interstate or foreign commerce;
       (3) Third, the defendant knowingly agreed that either the defendant or another person
           would be associated with the enterprise; and
       (4) Foutth, tlie defendant knowingly agreed that either he or another person would
           conduct or pa11icipate, directly or indirectly, in the conduct of tlie affairs of the
           enterprise through a pattern of racketeering activity.

7.      Factual Admissions: Defendant admits that the following facts are true and if this
matter had proceeded to trial, the government would have proven the following beyond a
reasonable doubt:
        (1)     From at least on or about Januaty I, 2008 through on or about October I, 2018,
the Gypsy Joker Outlaw Motorcycle Club [hereinafter refe1Ted to as "GJOMC"] was an "outlaw"
motorcycle organization comprised of individual chapters located in cities throughout Oregon
and Washington. Each chapter included officers and general members, all of whom fell under
the leadership of the national president and officers. Associates and members followed a written
code of conduct which identified the GJOMC as a "I%," or outlaw motorcycle club. As such,
the GJOMC was an enterprise, as defmed in 18 U.S.C. § 1961(4), comprised of a group of
individuals who associated together for common putposes. The purposes of the enterprise
included the following: (a) preserving and protecting the power, te!Titory and profits of the
enterprise through the use of intimidation, violence, threats of violence, assaults and murder; (b)
emiching the members and associates of the enterprise tlll'ough, among other things, extortion,
robbery, and distribution of narcotics; (c) keeping victims, potential victims, potential witnesses,
and community members in fear of the entetprise and in fear of its members and associates
through threats of violence and violence; (d) extorting money from other motorcycle
organizations tln·ough fear and tln·eat of violence; and (e) providing assistance to other members
and associates who committed crimes for and on behalf of the enterprise; and providing
assistance to other enterprise members and associates, in order to hinder, obstruct, and prevent
law enforcement officers from identifying the offender, apprehending the offender, and trying to
punish the offender.
        (2)     The GJOMC engaged in and had an effect on interstate or foreign commerce in
the following ways, among others. First, GJOMC members in Oregon and Washington paid
dues to their local chapter, a percentage of which went to the national organization. Second, the
         Case 3:18-cr-00319-MO          Document 195        Filed 06/27/19     Page 3 of 6




    Plea Offer, E. Fisher
    Page 3



GJOMC communicated and associated with suppmt club members, and collected dues from
suppmt clubs, in order to maintain a hierarchy, and to maintain rules and discipline within the
gang. Third, the gang traveled interstate as an enterprise to commit racketeering acts, including
transportation and receipt of stolen motorcycles, kidnapping, and narcotics trafficking.
         (3)     At all times relevant to the Indictment defendant Earl Fisher was a member of the
GJOMC. He knew of the nature of the GJOMC entetprise's activities, including acts of
violence, murder, robbe1y, kidnapping, and obstruction of justice. At all times relevant to the
Indictment, Fisher conspired with others and agreed to conduct and patticipate, and did conduct
and participate, directly and indirectly, in the conduct of the affairs of the GJOMC enterprise
through a pattern of racketeering activity consisting of acts involving murder, in violation of
Oregon Revised Statutes, Sections 161.155, l 63. l 15(1)(a), and 163.115(1 )(b ), and Washington
Revised Statutes, Sections 9A.08.020 and 9A.32.030; kidnapping, in violation of Oregon
Revised Statutes, Sections 163.235 and 163.225, and Washington Revised Statutes, Sections
9A.40.020 and 9A.40.030; robbery, in violation of Oregon Revised Statutes, Sections 165.415
and 165.405; extmtion, in violation of Oregon Revised Statutes, Section 164.075; and drug
trafficking, in violation of Title 21, United States Code, Sections 841 and 846; as well as acts
indictable under Title 18, United States Code, Section 1512 (tampering with a witness, victim, or
infmmant).
        (4)      Specifically, Fisher agreed that he or a coconspirator would commit at least two
acts of racketeering activity in the conduct of the affairs of the GJOMC.

8.      Acceptance of Responsibility: Defendant must demonstrate to the Comt that he fully
admits and accepts responsibility under U.S.S.G. § 3El. l for his unlawful conduct in this case.
If defendant does so, the USAO will recommend a three-level reduction in defendant's offense
level. The USAO reserves the right to change this recommendation if defendant, between plea
and sentencing, commits any criminal offense, obstructs or attempts to obstruct justice as
explained in U.S.S.G. § 3Cl.l, or acts inconsistently with acceptance of responsibility as
explained in U.S.S.G. § 3El. l.

9.      Adyjsory Guideline Cakulation: The government anticipates that defendant has five(5)
criminal history points, producing a criminal history category of III. 1 The patties stipulate and
agree to the applicability of the following base offense level and adjustments on Count I (RICO
Conspiracy):

         (a) The base offense level for a violation of 18 U.S.C. § 1962(d) is driven by the greater
             of nineteen or the offense level(s) applicable to the underlying racketeering activity.
             U.S.S.G. § 2El.l(a)(2), Application Note I. The underlying racketeering activity for
             the RICO charge in the Indictment is: (I) the murder of Robert Huggins on or about

1
 The criminal history is set fotth as merely an estimate and the parties understand that the final
criminal history calculation will be determined by the Court following the receipt of a PSR and
this initial estimate is not binding upon the patties.
       Case 3:18-cr-00319-MO          Document 195        Filed 06/27/19      Page 4 of 6




 Plea Offer, E. Fisher
 Page 4



           July 1, 2015, in violation of Oregon Revised Statutes, Sections 161.155,
           163.115(l)(a), and 163.115(1)(b), and Washington Revised Statutes, Sections
           9A.08.020 and 9A.32.030; (2) the kidnapping of Robe1t Huggins resulting in death on
           or about June 30, 2015, in violation of Oregon Revised Statutes, Sections 163.235
           and 163.225, and Washington Revised Statutes, Sections 9A.40.020 and 9A.40.030.

               (i) Regarding the July 1, 2015 murder, the base offense level is 43. U.S.S.G.
                   §§ 2Al.1 and 1B1.3(a)(l)(B).

               (ii) Regarding the June 30, 2015 kidnapping resulting in death, the base offense
                    level is 43. U.S.S.G. §§ 2A4.l(c)(l), 2Al.l, and 1B1.3(a)(l)(B).

       (b) The offense level for each underlying racketeering act must be taken into account under
           the grouping rules contained in Chapter 3 of the Sentencing Guidelines. U.S.S.G.
           § 2El.l(a)(2), Application Note 1. The murder and kidnapping resulting in death
           offenses "group" (U.S.S.G. § 3Dl.2(a)). The applicable adjusted offense level for
           Count I of the Indictment is therefore 43.

       In summary, the patties stipulate and agree to the applicability of the following base
offense level and adjustments on Count 1 (RICO Conspiracy):

               (I) U.S.S.G. § 2Al.1          - Base offense level                  43
               (2) U.S.S.G. § 3El.1          - Acceptance                          .:.J.
                                             - Total offense level                =40

I 0.    Government Sentencing Recommendation: If defendant agrees to resolve his case
prior to the July 3, 2019 deadline, and demonstrates an acceptance of responsibility as described
above, the government will recommend as a reasonable sentence under the factors listed in 18
U.S.C. § 3553(a), a sentence at the low end of the advisory sentencing guidelines range, to be
followed by five years of supervised release and a $100 fee assessment.

11.     Additional Departures. Adjustments, or Variances: The USAO agrees not to seek any
upward departures, adjustments, or variances to the advisory sentencing guideline range, or to
seek a sentence in excess of that range, except as specified in this agreement. Defendant reserves
the right to seek a downward depaiture, adjustment or variance from the applicable sentencing
guidelines range dete1mined by the Court, but he understands that the government may oppose
such a request(s).

12.     Waiver of Appeal/Post-Conviction Relief: Defendant knowingly and voluntarily
waives the right to appeal from any aspect of the conviction and sentence on any grounds, except
for a claim that: (1) the sentence imposed exceeds the statutmy maximum, or (2) the Court
arrives at an advisory sentencing guideline range by applying an upward depaiture under the
       Case 3:18-cr-00319-MO           Document 195        Filed 06/27/19      Page 5 of 6




 Plea Offer, E. Fisher
 Page 5



provisions of Guidelines Chapters 4 or 5K, or (3) the Court exercises its discretion under 18
U.S.C. § 3553(a) to impose a sentence which exceeds the advisory sentencing guidelines range
as determined by the Court. Should defendant seek an appeal, despite this waiver, the USAO
may take any position on any issue on appeal. Defendant also waives the right to file any
collateral attack, including a motion under 28 U.S.C. § 2255, challenging any aspect of the
conviction or sentence on any grounds, except on grounds of ineffective assistance of counsel,
and except as provided in Fed. R. Crim. P. 33 and 18 U.S.C. § 3582(c)(2). In the event that
defendant's conviction under this agreement is vacated, the government may reinstate and/or file
any other charges, and may take any position at a resentencing hearing, notwithstanding any
other provision in this agreement.

13.      Court Not Bound: The defendant expressly understands that the Comi is not a party to
this agreement. In the federal system, the sentence to be imposed is within the sole discretion of
the Court. In pmiicular, the defendant understands that neither the United States Probation Office
nor the Comi is bound by the stipulations set fmih above, and that the Court will, with the aid of
the Presentence Repo1i, dete1mine the facts relevant to sentencing. In dete1mining the factual basis
for the sentence, the Court will consider the above stipulations, together with the results of the
presentence investigation, and any other relevant infmmation. The defendant understands that the
Court is under no obligation to accept the USAO's recommendations, and the Comi has the power
to impose a sentence up to and including the statutory maximum stated above. The defendant
understands that if the Comi ascertains factors different from those contained in the stipulations
set forth above, or if the Court should impose any .sentence up to the maximum established by
statute, the defendant cannot, for that reason alone, withdraw his guilty plea, and will remain bound
to fulfill all of his obligations under this agreement. The defendant understands that neither the
prosecutor, his own counsel, nor the Court can make a binding prediction, promise, or
representation as to what guidelines range or sentence the defendant will receive. The defendant
agrees that no one has made such a binding prediction or promise.

14.     Full Disclosure/Reservation of Rights: The USAO will fully infmm the PSR writer and
the Court of the facts and law related to defendant's case. Except as set forth in this agreement,
the parties reserve all other rights to make sentencing recommendations and to respond to
motions and arguments by the opposition.

15.     Breach of Plea Agreement: If defendant breaches the terms of this agreement, or
commits any new criminal offenses between signing this agreement and sentencing, the USAO is
relieved of its obligations under this agreement, but defendant may not withdraw any guilty plea.
If defendant believes that the gove1mnent has breached the plea agreement, he must raise any
such claim before the district comi, either prior to or at sentencing. If defendant fails to raise a
breach claim in district comi, he has waived any such claim and is precluded from raising a
breach claim for the first time on appeal.
        Case 3:18-cr-00319-MO           Document 195        Filed 06/27/19        Page 6 of 6




 Plea Offer, E. Fisher
 Page6



16.      Memorialization of Agreement: No promises, agreements or conditions other than
those set forth in this agreement will be effective unless memorialized in writing and signed by
all paiiies listed below or confirmed on the record before the Comi. If defendant accepts this
offer, please sign and attach the original of this letter to the Petition to Enter Plea.

17.     Deadline: This plea offer expires if not accepted by July 3, 2019, at 5:00 p.m.

                                                        Sincerely,

                                                        BILLY J. WILLIAMS
                                                        United States Attorney

                                                        Isl Leah K. Bolstad
                                                        LEAH K.. BOLSTAD
                                                        Assistant United States Attorney
                                                        DAMARE THERIOT
                                                        DOJ Trial Attorney, OCGS

       I have carefully reviewed every part of this agreement with my attorney. I understand
and voluntarily agree to its te1ms. I expressly waive my rights to appeal as outlined in this
agreement. I wish to plead guilty because, in fact, I am guilty.


{e-21-2011
Date                                          Earl Fisher, Defendant

         I represent the defendant, Earl Fisher, as legal counsel. I have carefully reviewed every
paii of this agreement with defendant. To my knowledge, defendant's decisions to make this
agreement and to plead guilty are infmmed and voluntary ones.



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Date
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                                              De!Sorah Burdzik, Attorney for Defendant
